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10
                                  UNITED STATES DISTRICT COURT
11
                                EASTERN DISTRICT OF CALIFORNIA
12

13
      MARK BAIRD and                                 Case No. 2:19-CV-00617-KJM-AC
14    RICHARD GALLARDO,
                                                     PLAINTIFFS’ RESPONSE TO
15                       Plaintiffs,                 DEFENDANT’S STATEMENT OF
                                                     FACTS AND PLAINTIFFS’
16           v.                                      COUNTERSTATEMENT ISO
17                                                   CROSS-MOTION FOR SUMMARY
      ROB BONTA, in his official capacity as
                                                     JUDGMENT
      Attorney General of the State of California,
18
      and DOES 1-10,
                                                     [Fed. R. Civ. P. 56, Local Rule 260(b)]
19
                         Defendants.                 Date:             November 3, 2023
20
                                                     Time:             10:00 a.m.
21                                                   Courtroom:         3
                                                     Judge:            Hon. Kimberly J. Mueller
22                                                   Trial Date:       None set
                                                     Action Filed:     April 9, 2019
23

24

25

26

27                                             1
                  __________________________________________________________
28
        Plaintiffs’ Response to Defendant’s Statement of Facts and Plaintiffs’ Counterstatement in
                        Support of Plaintiffs’ Cross-Motion for Summary Judgment
                                        (2:19-cv-00617-KJM-AC)
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 1

 2           PLAINTIFFS’ RESPONSE TO DEFENDANT’S STATEMENT OF FACTS

 3          Plaintiffs submit the following responses to the defendant’s statement of undisputed facts

 4   and in opposition to the State’s motion for summary judgment pursuant to Federal Rule of Civil

 5   Practice 56 and Local Rule 260(b).

 6
      No. Defendant’s Statement of Fact With Citation               Plaintiffs’ Response With
 7                                                                  Citation
       1    On June 24, 2022, the California Attorney General       Objection and move to strike.
 8          issued Legal Alert No. OAG-2022-02, which stated        Only facts affecting the outcome
            that Bruen “makes clear that the ‘good cause’           of the suit under the governing law
 9
            requirements such as those in California Penal Code     will properly preclude the entry of
10          sections 26150(a)(2) and 26155(a)(2) are                summary judgment. Factual
            inconsistent with the Second and Fourteenth             disputes that are irrelevant or
11          Amendments. Under the Supremacy Clause of the           unnecessary will not be counted.
            United States Constitution, state and local officials   Anderson v. Liberty Lobby, Inc.,
12          must comply with clearly established federal law.”      477 U.S. 242, 248 (1986). The
            Declaration of Lara Haddad [Haddad                      cited fact is irrelevant and
13          Decl.], Ex. 1, pp. 1-2.                                 immaterial to whether the State
14                                                                  met its burden under the Bruen
                                                                    test of proving that the challenged
15                                                                  government          conduct        –
                                                                    criminalizing the open carriage of
16
                                                                    a handgun for self-defense – is
17                                                                  consistent with the plain text of
                                                                    the Second Amendment, and this
18                                                                  Nation’s history and tradition of
                                                                    firearm regulation. NYSRPA v.
19                                                                  Bruen, 142 S.Ct. 2111, 2126
                                                                    (2022).
20
                                                                    Denied as to form; Admit in
21                                                                  part, that state and local officials
                                                                    must comply with clearly
22                                                                  established federal law.
23     2                                                 Objection and move to strike.
           Plaintiff Mark Baird has a license, issued by the
24         Siskyou County Sheriff, to carry a concealed firearm.
                                                         Only facts affecting the outcome
           Haddad Decl., Ex. 2 [Portion of Deposition of Mark
                                                         of the suit under the governing law
25         Baird], p. 14.                                will properly preclude the entry of
                                                         summary judgment. Factual
26                                                       disputes that are irrelevant or
                                                         unnecessary will not be counted.
27                                                       Anderson v. Liberty Lobby, Inc.,
                                              2
28                                                       477 U.S. 242, 248 (1986). The
                 __________________________________________________________
             Plaintiffs’ Response to Defendant’s Statement of Undisputed Facts and Plaintiffs’
              Counterstatement in support of Plaintiffs’ Cross-Motion for Summary Judgment
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 1                                                                  cited fact is irrelevant and
                                                                    immaterial to whether the State
 2                                                                  met its burden under the Bruen
 3                                                                  test of proving that the challenged
                                                                    government         conduct        –
 4                                                                  criminalizing the open carriage of
                                                                    a handgun for self-defense – is
 5                                                                  consistent with the plain text of
                                                                    the Second Amendment, and this
 6
                                                                    Nation’s history and tradition of
 7                                                                  firearm regulation. NYSRPA v.
                                                                    Bruen, 142 S.Ct. 2111, 2126
 8                                                                  (2022).
                                                                    Without waiving the stated
 9                                                                  objection, DENIED. Declaration
                                                                    of Mark Baird [“Baird Dec.”] at
10
                                                                    ¶7.
11     3   Plaintiff Mark Baird is seeking “the unpermitted and
           unrestricted open carry of a loaded firearm in the       ADMIT.
12         state of California.” Haddad Decl., Ex. 2 [Portion of
           Deposition of Mark Baird], p. 16.
13

14     4   Plaintiff Mark Baird lives in Siskiyou County.
           Second Amended Complaint [SAC], ¶ 13.                    ADMIT.
15
       5   Siskiyou County is a county with fewer than 200,000
16         people residing there. Haddad Decl., Ex. 3 [Portion      ADMIT.
           of Deposition of Richard Gallardo], pp. 15, 27.
17

18
       6                                                Objection and move to strike.
           Plaintiff Richard Gallardo has testified that he is
19         authorized to carry a concealed firearm within
                                                        Only facts affecting the outcome
           California because of his status as a retired military
                                                        of the suit under the governing law
20         police officer under the federal Law Enforcement
                                                        will properly preclude the entry of
           Officers Safety Act. Haddad Decl., Ex. 3 [Portion of
                                                        summary judgment. Factual
21
           Deposition of Richard Gallardo], pp. 15, 27. disputes that are irrelevant or
22                                                      unnecessary will not be counted.
                                                        Anderson v. Liberty Lobby, Inc.,
23                                                      477 U.S. 242, 248 (1986). The
                                                        cited fact is irrelevant and
24                                                      immaterial to whether the State
                                                        met its burden under the Bruen
25
                                                        test of proving that the challenged
26                                                      government          conduct       –
                                                        criminalizing the open carriage of
27                                                      a handgun for self-defense – is
                                             3          consistent with the plain text of
28              __________________________________________________________
            Plaintiffs’ Response to Defendant’s Statement of Undisputed Facts and Plaintiffs’
             Counterstatement in support of Plaintiffs’ Cross-Motion for Summary Judgment
                                       (2:19-cv-00617-KJM-AC)
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 1                                                                the Second Amendment, and this
                                                                  Nation’s history and tradition of
 2                                                                firearm regulation. NYSRPA v.
 3                                                                Bruen, 142 S.Ct. 2111, 2126
                                                                  (2022). Without waiving the
 4                                                                stated objection, see, Declaration
                                                                  of Richard Gallardo [“Gallardo
 5                                                                Dec.”] at ¶ 12.
 6

 7        Plaintiff Richard Gallardo has testified that he can    Objection and move to strike.
      7   carry his firearm concealed even though he              Only facts affecting the outcome
 8        previously had a license to carry a concealed firearm   of the suit under the governing law
          revoked in 2019 for unlawfully bringing a firearm on    will properly preclude the entry of
 9        state property and displaying it to coworkers. Haddad   summary judgment. Factual
          Decl., Ex. 3 [Portion of Deposition of Richard          disputes that are irrelevant or
10
          Gallardo], p. 17.                                       unnecessary will not be counted.
11                                                                Anderson v. Liberty Lobby, Inc.,
                                                                  477 U.S. 242, 248 (1986). The
12                                                                cited fact is irrelevant and
                                                                  immaterial to whether the State
13                                                                met its burden under the Bruen
14                                                                test of proving that the challenged
                                                                  government          conduct       –
15                                                                criminalizing the open carriage of
                                                                  a handgun for self-defense – is
16                                                                consistent with the plain text of
                                                                  the Second Amendment, and this
17                                                                Nation’s history and tradition of
18                                                                firearm regulation. NYSRPA v.
                                                                  Bruen, 142 S.Ct. 2111, 2126
19                                                                (2022).

20                                                     Without waiving the stated
                                                       objection,      DENIED.         The
21                                                     defendant’s statement is false and
22                                                     otherwise      misleading.      The
                                                       testimony cited does not indicate
23                                                     that Mr. Gallardo’s actions were
                                                       ‘unlawful,’ rather, it provides that
24                                                     Mr. Gallardo acted in accordance
                                                       with California State law,
25
                                                       possessed his firearm in his
26                                                     vehicle, and showed it to a co-
                                                       worker who was considering
27                                                     applying for a concealed carry
                                            4          license, and at his co-worker’s
28             __________________________________________________________
           Plaintiffs’ Response to Defendant’s Statement of Undisputed Facts and Plaintiffs’
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                                      (2:19-cv-00617-KJM-AC)
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 1                                                                              request. See, portions of the
                                                                                Deposition Transcript of Richard
 2                                                                              Gallardo    attached     to     the
 3                                                                              Bellantoni Dec. as Ex. 5 at pp. 19-
                                                                                20; 38.
 4

 5       8    Plaintiff Richard Gallardo is seeking “the ability to             ADMIT.
              open carry without government permission.” Haddad
 6
              Decl., Ex. 3 [Portion of Deposition of Richard
 7            Gallardo], p. 29.

 8
          9    Plaintiff Richard Gallardo lives in Shasta                       ADMIT.
 9             County. SAC, ¶ 14.
10
         10    Shasta County is a county with fewer than                        ADMIT.
11             200,000 people residing there. SAC, ¶ 14.

12

13
                  PLAINTIFFS’ COUNTERSTATEMENT OF FACTS IN SUPPORT OF
14
                               CROSS-MOTION FOR SUMMARY JUDGMENT
15
               Plaintiffs submit the following Counterstatement in support of Plaintiffs’ Cross-Motion
16
     for Summary Judgment pursuant to Federal Rule of Civil Practice 56 and Local Rule 260(b).
17

18
         No. Plaintiffs’ Statement of Material Fact 1                                              Citation
19
         11   Mark Baird is a resident of Siskiyou, California,                                    Baird Dec. at ¶2
20            which has a population less than 200,000.
         12   Richard Gallardo is a resident of Shasta, California,                                Gallardo Dec. at
21
              which has a population less than 200,000.                                            ¶2
22       13   Mark Baird and Richard Gallardo have no disqualifiers to the                         Baird Dec. at ¶3;
              possession, transfer, receipt, or sale of firearms under state or                    Gallardo Dec. at
23            federal law                                                                          ¶3.
         14   Mark Baird and Richard Gallardo seek to carry a handgun                              Baird Dec. at ¶5,
24            open and exposed on their person for self-defense, whether                           Gallardo Dec. at
25            loaded or unloaded, throughout the State of California for self-                     ¶5
              defense.
26
     1
      Plaintiffs incorporate by reference those statements contained in the defendant’s Statement of Facts to which
27   Plaintiffs have responded “Admit.”
                                                 5
28                  __________________________________________________________
               Plaintiffs’ Response to Defendant’s Statement of Undisputed Facts and Plaintiffs’
                Counterstatement in support of Plaintiffs’ Cross-Motion for Summary Judgment
                                          (2:19-cv-00617-KJM-AC)
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 1    15   Prior to the passage of the Mulford Act of 1967, it was lawful           Baird Dec. ¶¶11-
           throughout the State of California to carry a loaded handgun             13.
 2         for self-defense.
 3    16   After the passage of the Mulford Act of 1967, it remained                Baird Dec. ¶¶11-
           lawful to open carry an unloaded handgun for self-defense                13; Penal Code
 4         throughout the State of California.                                      25850.
      17   In 2012, it became a crime in California to carry an unloaded            Baird Dec. ¶14;
 5         handgun open and exposed in public for self-defense.                     Penal Code
                                                                                    26350.
 6
      18   Mark Baird and Richard Gallardo do not fall into any of the              Baird Dec. ¶7;
 7         exceptions to criminal sanctions under Penal Code sections 25850         Gallardo Dec. at
           and/or 26350.                                                            ¶6.
 8    19   Neither Mark Baird nor Richard Gallardo holds a concealed carry          Baird Dec. ¶7;
           license in the State of California.                                      Gallardo Dec. at
 9                                                                                  ¶6
10    20   Mark Baird and Richard Gallardo attempted to obtain an open carry        Baird Dec. ¶8;
           license in their counties, but there is no process for applying for or   Gallardo Dec. at
11         obtaining an open carry license.                                         ¶7
      21   Since the passage of Penal Code 26350, no open carry licenses have       Baird Dec. ¶9;
12         been issued in California.                                               Gallardo Dec. at
                                                                                    ¶8
13
      22   Throughout the course of this litigation, Defendant has presented no     Baird Dec. ¶9;
14         evidence that any open carry license has been issued in California       Gallardo Dec. at
           since 2012.                                                              ¶8
15    23   Even if open carry licenses were issued in California, the license       Baird Dec. ¶10;
           would only be valid within the county of issuance under the State’s      Gallardo Dec. at
16         licensing scheme.                                                        ¶9
17    24   Mark Baird and Richard Gallardo should not have to apply for and         Baird Dec. ¶¶15-
           obtain a discretionary license before being able to exercise the right   19; Gallardo Dec.
18         to open carry a handgun for self-defense (bear arms).                    at ¶¶10-13
      27   If Mark Baird and Richard Gallardo carry a handgun open and              Baird Dec. ¶6;
19         exposed on their person for self-defense in California, whether          Gallardo Dec. at
           loaded or unloaded, they will be arrested and suffer criminal            ¶5
20
           sanctions under Penal Code sections 25850 and 26350.
21

22   Dated: September 29, 2023                           Respectfully submitted,
23                                                       THE BELLANTONI LAW FIRM, PLLC

24
                                                         _/s/ Amy L. Bellantoni_________________
25                                                       Amy L. Bellantoni, Esq.
                                                         Counsel for Plaintiffs
26
                                                         Pro Hac Vice
27                                                       abell@bellantoni-law.com
                                             6
28              __________________________________________________________
            Plaintiffs’ Response to Defendant’s Statement of Undisputed Facts and Plaintiffs’
             Counterstatement in support of Plaintiffs’ Cross-Motion for Summary Judgment
                                       (2:19-cv-00617-KJM-AC)
